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                       IN TIIE TJMTED STATES BAI\KRT]PTCY COTIRT
                             FOR TIIE DISTRICT OF'DELAWARE

                                                  X
In re
                                                      Chapter   11


RathGibson, Inc., et al..l                            CaseNo.09-12452 (CSS)

                                                      Jointly Administered
                           Debtors.
                                                      Re: Docket No. 548

                                                  X

            ORDER FURTIIER EXTENDING DEBTORS' EXCLUSTVE PERIODS
              TO FILE CHAPTER II PLAN AND SOLTCIT ACCEPTANCES
        TIIERETO PI]RSUANT TO SECTION 1121(il OF THE BANKRT]PTCY CODE

                  Upon consideration of the motion (the "Mg!ign") of the debtors and debtors in

possession      in the above-captioned cases (collectively, the "Deb!glg") for entry of an order,

pursuant to section 1121(d) of     title I I of the United   States Code (the     "Egnkn$gy Code"),     Rule

9006 of the Federal Rules of Bankruptcy Procedure (the "Bankrup!9J_Rules")                 *d   Rule 9006-2

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the Dishict of Delaware (the "Local Rules"), extending the Debtors' exclusive periods to file

a chapter 11 plan or plans and      to solicit   acceptances   of such plan(s); and notice of the Motion

having been provided to the parties identified in the Motion; and            it   appearing that no other or

further notice need be provided; and it appearing that the relief requested in the Motion is in the

best interests of the Debtors and their respective estates and creditors; and after due deliberation

and sufficient cause appearing therefor, it is hereby:




I        The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses:
(i) Greenville Tube Company (2689); (ii) RathGibson, Inc. (3283); (iii) Rc Tube Holdings LLC (4080); and (iv)
RGCH Holdings Corp, (9683). The Debtors' executive headquarters' address is 475 Half Day Road, Suite 210,
Lincolnshire, Illinois 60069.



DBV2:95T285.3                                                                                      068401.1001
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                   ORDERED, ADJUDGED, AND DECREED that:

                   1.   The Motion is GRANTED as set forth herein.

                   2.   Capitalized terms not otherwise defined herein shall have the meanings

ascribed to such terms in the Motion.

                   3.   The Debtors' Exclusive Filing Period shall be extended through            and

including June 30, 201 0.

                   4.   The Debtors' Exclusive Solicitation Period shall be extended through and

including August 30, 20 I 0.

                   5.   The entry of this Order shall be without prejudice to the rights of the

Debtors to request further extensions of the Exclusive Periods or to seek other appropriate relief,

                   6.   This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation or interpretation of this Order.

Dated: Wilmington, Delaware
                  :''/tr '2010                /'1 '/   '




                                           THE HONORABLE CHRISTOPHER S. SONTCHI
                                           UNITED STATES BA}{KRUPTCY ruDGE




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